

Matter of Hutchinson v O'Neill-Levy (2023 NY Slip Op 02972)





Matter of Hutchinson v O'Neill-Levy


2023 NY Slip Op 02972


Decided on June 06, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 06, 2023

Before: Renwick, A.P.J, Kern, Singh, Scarpulla, Higgitt, JJ. 


Index No. 500234/15 Appeal No. 403 Case No. 2022-05024 

[*1]In the Matter of John E. Hutchinson IV, Petitioner,
vHon. Kelly O'Neill-Levy, etc., et al., Respondents.


John E. Hutchinson IV, appellant pro se.
Letitia James, Attorney General, New York (Shi-Shi Wang of counsel), for Hon. Kelly O'Neill-Levy, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 6, 2023








